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9/29/2023                     /s/ John Bridger




9/29/2023                     /s/ Joshua R. Walker *by permission
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